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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE, DR.
 ALICE WASHINGTON, STEVEN HARRIS,
 ALEXIS CALHOUN, BLACK VOTERS
 MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,                                Civil Action No. 3:22-cv-00178
                               Plaintiffs,               SDD-SDJ
 v.
 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,
                               Defendant.

        PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF
                      MOTION FOR SPECIAL ELECTION

       Plaintiffs seek leave to file a brief reply motion to respond to Defendants’ opposition to

Plaintiffs’ motion for special election.

       Defendants’ motion raises new issues that were not addressed in Plaintiffs’ motion—

indeed, several of the events discussed in their opposition had not yet occurred at the time Plaintiffs

filed their motion, including Defendants’ notice of appeal and their motion in the alternative to

stay this case. Plaintiffs seek leave to reply to brief, among other things, this Court’s jurisdiction,

its authority under Federal Rule of Civil Procedure 62, and the stay factors enumerated in Nken v.

Holder, 556 U.S. 418 (2009). Moreover, because the Court’s status conference to discuss the

pending motions and schedule in this case was canceled, Plaintiffs also seek leave to reply

regarding the State’s arguments about Plaintiffs’ burden and the record evidence in support of a

special election, as well as to respond to Defendants’ arguments about what In re Landry, 83 F.4th

300 (5th Cir. 2023), instructs about the appropriate schedule in this case.

       Plaintiffs respectfully request that the Court grant Plaintiffs leave to file a reply motion.
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Date: February 22, 2024                             Respectfully submitted,

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